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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
GAINESVILLE DIVISION

CASE NO. l:l7-cV-305-MW-GRJ
AUSTIN BROWN,

Plaintiff,
V.

LAWN ENFORCEMENT AGENCY,
INC. and MICHAEL TROIANO,

Det`endants.
/

I)EFENDANTS’ BRIEF ON ATTORNEY’S FEES AND C()STS

Defendants, LAWN ENFORCEMENT AGENCY, lN`C. (“LEA”) AND
MICHAEL TROIANO (“Mr. Troiano”) file this Brief on Attorney’s Fees and Costs,

pursuant to the Court’s Order at Doo. 47, and state as follows:
I - BACKGROUND

The amount of attorney’s fees being requested by l\/[r. Massey is completely
unreasonable and should be greatly reduced Below is a timeline to show: the events
that lead to this ease, the fact that the Plaintiff Was paid minimum Wage Within ten
(10) days of his regular pay period, the actions taken by l\/Ir. l\/lassey that Were

incorreet, and the minimum of four times Mr. Massey and his client had to settle the

 

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case for the full amount of damages requested in Count II, the Florida minimum

Wage claim, Which plead the most amount of damages of the two Counts.

January 9, 2017:
January 19, 2017:

November 15, 2017:

November 27, 2017:

Timeline
Plaintiff paid less than minimum Wage.

Plaintiff paid $100 Which brings him up to both Federal
and Florida minimum Wage for the pay period, Which
Was his last pay period

Plaintiff Demand Letter _ no amount demanded but from
reading the letter, the most owed to the Plaintiff Would be
about $162.60.

Mr. Troiano e-mailed Mr. Massey telling him about the
3100 and asking What more needs to be paid Mr. Massey
tells l\/Ir. Troiano to contact Plaintiff directly.

Between November 27 and December 27, 2017 : l\/lr. Troiano tried to contact the

December 15, 2017:

December 21, 2017:
December 27, 2017 :

Janual'y 2018:
January 9, 2018'.

January 29, 2018: y
January 29, 2018:

Plaintiff to resolve the situation three times With no answer
and no voice mail set up.

Complaint filed asking for Federal damages in the amount
of $184.14 and Florida damages in the amount of $195.21.

Mr. Troiano and Lawn Enforcement are served

Mr. Troiano contacts Mr. Massey Who requests
approximately $4000 to settle the case.

Mr. Massey offers to settle With l\/lr. Troiano for $2500.

$1500 Counter-offer made to l\/[r. Massey by counsel and
never received a response despite several attempts

Motion to Dismiss Complaint filed

First Amended Complaint filed in response to the
Motion to Dismiss Complaint, and Plaintiff asks for
same amount of damages as the Complaint. (Plaintiff

 

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February 26, 2018:

February 28, 2108:

February 28, 2108:

March 1, 2018:

May 30, 2018:

June 8, 2018:

July 24, 2018:

is Correcting his Mistakes and still not pleading
correct amount of damages)

Plaintiff files Amended Rule 26 Disclosure which still
says that Plaintiff was not paid all minimum wages but
now says that Federal damages are possibly only $84.14
and Florida is possibly $122.94.

The undersigned counsel brought to Mr. Massey’s
attention his failure to consider the required payment of
taxes in his calculations of the amount for minimum Wages
under FLSA and The Florida Act and the fact that Plaintiff
was actually paid the full minimum wages

l\/lr. Troiano offered to pay the full amount of damages
stated in Count ll of the Amended Complaint, $195.21.
The offer was never accepted

Payment of original damages claimed to Plaintiff of
$195.21 With an offer to pay reasonable attorney’s fees.
However, the check was refused on or about the same
day.

Proposals for Settlement of $2400 by Lawn Enforcement
and $l()() by l\/Ir. Troiano sent to Mr. Massey.

Mediation Was a waste of time where Mr. l\/[assey
demanded outrageous attorney’s fees.

Order on Cross Motions for Summary Judgment finding
that Count II, which was plead twice as $195.21 in
damages, is dismissed and Court says Count II never
should have been plead Plaintiff wins Count I plead twice
as $184.14 in damages. The Court indicated in its Order
on Cross-Motions for Summary Judgment, Doc. 35, the
$100 payment Was clearly made long before any notice
Was given to LEA and Mr. Troiano about any possible
law violation, and the Florida Minimum Wage Was
satisfied on January 19, 2017, So there Was clearly no
violation of the Florida Minimum Wage Act or the

 

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Florida Constitution when Plaintiff both gave the alleged
notice in November 2017 and then sued in December 2017

July 30, 2018: Agreement with Plaintiff that only $84.14 in damages is
owed to Plaintiff.

Please see Doc. 41 for a more detailed background Plaintiff and Mr. l\/lassey
had at least four chances where they were offered and refused $195.21 in damages
which was the full amount of the alleged minimum wage damages for his client that
were twice plead Federal damages were plead in the amount $184.14 and Florida
damages were plead in the amount of $195 .21. lnstead, Mr. l\/lassey’s client will get
$84.14 in damages, which is forty-three percent (43%) of the $195.21 he could have
accepted before the litigation, early in the litigation and later in the litigation but
before the Court’s ruling on the Summary Judgment Motions where Plaintiff lost the
ability to get at least $122.94 in damages for the Florida Count. That lost $l ll.07
in damages may not mean much to Mr. Massey, but I am sure it means a lot to the
Plaintiff who came to him after having been shorted less than that amount in
minimum wage pay to begin with. Mr. Massey now wants attorney’s fees that are

900% more thanthe damages his client will receive.

The undersigned counsel informally requested the Plaintiff’ s retainer
agreement from l\/lr. Massey and gave him case law showing it is relevant when
attorney’s fees are requested However, Mr. l\/lassey stated it was not relevant and

refused to provide it, yet he discusses it in his Brief.

 

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II - WHY THE ATTORNEY’S FEES BEING REOUESTED ARE
UNREASONABLE

A. Basic Law

Courts start the evaluation of attorney’s fees requested by multiplying the
number of hours reasonably expended by a reasonable hourly rate. Loranger v.
Stierheim, 10 F.?>d 776, 78l (llth Cir. 1994). A reasonable hourly rate is the
prevailing market rate in the pertinent legal community for similar services by
lawyers of similar skills, experience and reputation Norman v. Housing Anthoritv
of Montgomery, 836 F.2d 1292, l299 (1 lth Cir. 1988). Courts are also considered
experts as to the issue of hourly rates and can consider their own knowledge and
experience regarding reasonable and proper fees and can form a judgment without
the use of an expert E. at 1303. When considering the number of hours, plaintiffs
counsel does not get to charge for mistakes or time spent correcting their mistakes,
Mobley v. A]:_)fel, 104 F. Supp. 2d 1357, 1360 (l\/l.D. Fla. 2000), redundant,
unnecessary or duplicative work, time on basic research into FLSA issues, and
clerical work. Walker v. Iron Sushi LLC, 752 Fed.Apr. 910 (l lth Cir. 2018) and

Ward v. Parks Electric Co. Inc., 2009 WL 1684455 5 (M.D. Fla. June 16, 2009).

Once this lodestar is determined the attorney’s fees can be adjusted based

upon the results obtained Popham v. City of Kennesaw, 820 F.2d 1570, l578-1579

 

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(11th Cir. 1987). “As an alternative or in addition to adjusting the number of hours
used to calculate the lodestar, the Court may apply an after-the-facr reduction of the
loadstar where the Plaintiff achieved only partial or limited success, and this is true
even where the Plaintiffs’ claims are interrelated non-frivolous and raised in good
fait .’ ” Andriello v. CFI Sales & i\/Iarketing, lnc., 2012 WL 3264920 7 (M.D. Fla.
Jan. 4, 2012), citing Brandt v. Magnificent Quality Florals Corp., 2011 WL 4625379
at 11-12 (S.D. Fla. Sept. 30, 2011) (quoting Hensley v. Eckhart, 461 U.S. 424, 436,
103 S. Ct. 1933, 76 L,Ed.2d 40 (1983) (emphasis added). lf the Court reduces the
loadstar after-the-fact, due to plaintiffs limited success, the Court does not have to
engage in an hour by hour analysis as long as the Court gives a clear explanation of
the reduction in fees. Laranger, 10 F.3d at 783. Also, the rejection of settlement
offers and its relationship to the final results attained is a legitimate factor to consider

in an award of fees. Walker, 752 FedAppx. 910.

An award of attorney fees to a prevailing plaintiff under FLSA is not based
upon a finding of the defendant’s fanlt, but, rather, on the Congressional
determination that such a provision was necessary to make plaintiffs whole... See
Brooklvn Sav. Bank v. O’Neil, 324 U.S. 697, 65 S. Ct. 895, 89, L. Ed. 1296 706 n.
15, 16 (1945) (addressing legislative history of the fee provision); Greenburg v.

Arsenal Bld. Corp_. 50 F.Supp. 700 (S.D.N.Y. 1943) (rev’d in part on other grounds

 

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by O’Neil, supra.). Also, “an entitlement to fees cannot be a carte blanche license
for Plaintiff to outrageously and in bad faith run up attorney fees without any threat
of sanction.” Gross v. Killian Oaks House of Learning, 248 F. Supp2d 1162, 168-69
(S.D. Fla. 2003). FLSA suits are not meant to be a windfall for plaintiffs counsel
Wolffv. Roval American Management, Inc., 2012 WL 5303665 4-5 (S.D. Ala. Oct.
25, 2012) “FLSA suites are not meant to become a cottage industry divorced from
the benefits they provide, and fees should not shade over from fair play into a
punitive measure against defendants who challenge a plaintiffs overtime claim in

good faith.” id at 5.

B. Application of LaW to Requested Fees

l . Lodestar

Courts start the evaluation of attorney’s fees requested by multiplying the
number of hours reasonable expended by a reasonable hourly rate. Loranger v.
Stierheim, 10 F.3d 776, 781 (llth Cir. 1994). A reasonable hourly rate is the
prevailing market rate in the pertinent legal community for similar services by
lawyers of similar skills, experience and reputation Norman v. Housing Authority
of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988). Courts are also considered
experts as to the issue of hourly rates and can consider their own knowledge and

experience regarding reasonable and proper fees and can form a judgment without

 

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the use of an expert E. at 1303. The Court in Longhini v. New Wav Foods, Inc.,
2016 WL 6806243 2 (S.D. Fla. November 16, 2016), reduced the hourly rate of the
attorneys in the case from $425 per hour to $250 per hour because the work done

was simple and straight-forward The cases cited below have a range of hourly rates

of$175 to $300.

Mr. Massey is seeking an hourly rate of $425 per hour. LEA and l\/lr. 'I`roiano
request this hourly rate be reduced to $250 per hour, which is the hourly rate of the
undersigned attorney who has over twenty-six years of experience as an attorney,
most of which as a litigator. The case was a minimum wage case that was simple
and straight-forward but l\/lr. Massey still plead the incorrect amount of damages
twice, had to file an Arnended Complaint had to file an Amended Rule 26
Disclosure. He also made two Requests for Production and lnterrogatories and one
Request for Admissions. This case did not demonstrate any real expertise on the
part Mr. l\/lassey, especially if you look at all the time he spent on researching issues.

This case could easily have been handled by a much less experienced attorney.

When considering the number of hours, plaintiff’ s counsel does not get to
charge for mistakes or time spent correcting their mistakes, l\/lobley v. Apfel, 104 F.
Supp. 2d 1357, 1360 (l\/I.D. Fla. 2000), redundant, unnecessary or duplicative work,

time on basic research into FLSA issues, and clerical work. Walker v. Iron Sushi

 

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LLC, 752 Fed.Appx. 910 (l ltl' Cir. 2018) and Ward v. Parks Electric Co. lnc., 2009

WL 1634455 5 (M.D. Fra. lane 16, 2009).

ln review of l\/lr Massey’s claimed hours of work, LEA and l\/lr. Troiano
request the following reduction of hours in conjunction with the across the board
reduction of the lodestar. First, the reductions for time Mr. l\/lassey spent doing basic
FLSA research, some of which is also redundant February 8, 2017, 2.6 hours;
December 12, 2017, 2.2 hours; December 12, 2107, 1.3 hours; December 12, 2017,
1.1 hours; another entry on December 12, 2017 of 1.1 hours; December 15, 2017, .7
of the 1.5 hours; January 12, 2018, .4 hours; January 29, 2018, .5 of the 1.5 hours;
January 29, 2018, 1.2 hours; February l, 2018, .7 hours; February 7, 2018, .6 ofl.3
hours; February 8, 2018, 1.8 hours; February 19, 2018, 2.2 hours; February 20, 2018,
1 hour; February 28, 2108, 1.9 hours - D_i_o_n£e issue l\/lr. Massey claims to have
experience and expertise ing l\/larch l, 2018, 3.5 hours; April 7, 2018, 1.5 of 3.7
hours; April 8, 2018, 2.0 hours of 4.5 hours; April 24, 2018, .5 of 2.1 hours; April
24, 2018, .6 of 1.6 hours; l\/lay 30, 2018, 1.0 of1.7 hours; May 31, 2018, l.7 hours;
June 8,' 2018, .4 hours; July 24, 2018, 2.2 hours; July 26, 2018, .4 hours; duly 30,
2018, 2.4 hours; July 31, 2018, 2.0 hours of4.6 hours; August 1, 2018, 2.4 of 5.4
hours; August 5, 2018, 1.0 of 2.3 hours; and August 6, 2018, 2.0 of4.3 hours. The

total requested reduction basic research and redundancy is 40.6 hours.

 

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Second, the reductions for time Mr. Massey spent correcting his own
mistakes: January 29, 2018, 1.0 prep. of amended complaint; .lanuary 29, i.l
continued prep. of amended complaint; February 26, 2018, .2 prep. of amended
initial disclosures; and March 1, 2018, .2, analysis of how taxes fit into the $100 that
was paid to Plaintiff The total reduction requested for time Mr. Massey spent
correcting his mistakes is 2.5 hours. This reduction does not include the time l\/Ir.
Massey spent that included mistakes, such as the drafting of the Complaint and

Amended Complaint.

Third, the reductions for time Mr. l\/[assey spent doing clerical work:
December 12, 2107, .2 prep. of summons; December 12, 2107, .2 prep of civil cover
sheet; April 11, 2018, .1, calendaring dates; June 6, 2018, .5, calendaring dates; June
14, 2018, .1 exchanging e-mail with the undersigned counsel’s assistant re: setting
attorney conference; and another June 14, 2018, .1 exchanging e-mail with the
undersigned counsel’s assistant re: setting attorney conference The total reduction
requested for clerical time is 1.2 hours. The total reduction of hours requested is
44.3 hours. The hours Mr. l\/lassey is claiming after the Court found entitlement to
fees is not time he can be compensated for. As a result, the total relevant starting
time is 162.3 hours minus 44.3 hours of reduction time = 118 hours. $250 per hour

times 118 hours : $29,500. Therefore, the loadstar amount requested is $29,500.

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2. Across the Board Reduction of Lodestar

LEA and l\/lr. Troiano ask that the Court base the amount of attorney’s fees
on the very limited success that the Plaintiff actually attained with regard to winning
only the Count which involved the lesser damages, as weil as, the actual amount of
damages obtained versus the damages Plaintiff plead in both Complaints. LEA and
Mr. Troiano believe at least a seventy-five (75) percent reduction in the fees
requested is appropriate Plaintiff won one of the two minimum wage claims he
made after the Court ruled on Summary Judgment Motions made by each party. Not
only did LBA and Mr. Troiano prevail in their Motion for Summary Judgment as to
the Florida minimum wage claim made, the (dourt indicated in its Order on Cross-
l\/Iotions for Summary Judgment, Doc. 35, that the claim should never have been
brought because the $100 payment made to Plaintiff in January 2017, satisfied
plaintiffs minimum wage, and it was clearly made long before any notice was given

to LEA and Mr. Troiano about any possible minimum wage law violation.

The Court can look at the overall results of the case and determine that the
lodestar amount should be reduced if the amount is excessive in relation to the
plaintiffs actual success l_’c_)phM, 820 F.2d at 1578-1579 (11th Cir. 1987). As
stated above and in Doc 41, LEA and Mr. Troiano believe that the case was frivolous

and was not raised in good faith, but the Court does not have to find that for the

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Court to reduce the attorney’s fees as requested by LEA and l\/lr. Troiano. “As an
alternative or in addition to adjusting the number of hours used to calculate the
lodestar, the Court may apply an after-the-fact reduction of the loadstar where the
Plaintiff achieved only partial or limited success, and this is true even where the
Plaintiffs’ claims are interrelated non-frivolous and raised in good faith.”’ Andriello
v. CFI Sales & l\/Iarketing, Incg 2012 WL 3264920 7 (l\/l.D. Pla. Jan. 4, 2012), citing
Brandt v. Magnifrcent Oualitv Florals Corp., 2011 WL 4625379 at 11-12 (S.D. Fla.
Sept. 30, 2011) (quoting Hensley v. Eckhart, 461 U.S. 424, 436, 103 S.Ct. 1933, 76

L,Ed.2d 40 (1983) (emphasis added).

ln Perez v. Carey Intern., lnc., 373 Fed.Appx. 907, 912 (11th Cir. 2010), the
Court cited the District Court case, Powell v. Carev lnteniational, lnc. 547 F. Supp.
2d 1281, 1286 (S.D. Fla. 2008), which found a disturbing undercurrent in the case
from the beginning was “what will ultimately generate the greatest fees rather than
legitimate recovery for Plaintiffs.” E. The District Court criticized the Plaintiff’s
attorney, Kleppin, for his “unrealistic and legally unsupported damage calculations”
and highlighted the fact that some of the plaintiffs received less than they would
have if they had settled their claims before the lawsuit was filed M. at 1286-88. The
District Court also took into account Kleppin’s actions in demanding inflated and

totally unsupported damages and ignoring the settled law. E. at 1289.

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Like Kleppin, l\/lr. l\/iassey plead Count ll that was totally unsupported by
settled law, he twice plead damages that were more than twice as much as the law
allowed despite the fact that his client was paid full his minimum wages within ten
days of his regular pay period in January 2017. l\/lr. Massey knew this was the case
by at least November 27, 2107, when Mr. Troiano e-mailed him and told him after
receiving the demand letter that had no amount of damages stated in it. l\/lr. l\/iassey
knew, or should have known at that point, that the 8100 payment brought Plaintiff

to the minimum Wage required by both Federal and Florida law, but he ignored this.
l\/.[r. Massey twice plead damages of $184.14 for the federal Count and $195.21 for
the Florida Count. Even though he filed an Amended Rule 26 Disclosure on
February 26, 2018, stating the damages may only be $84,14 for the Federal claim
and $l22.94 for the Florida claim, he did not concede this or file a Second Amended
Complaint. Mr. Massey also had an opportunity to correct his mistake in the
Amended Complaint that was filed in response to our initial l\/lotion to Dismiss. Still,
Mr. Massey claims to be a great expert in FLSA claims and deserving of $425 an

hour.

Also, in November 2017, after l\/lr. Troiano contacted Mr. Massey to try to
make things right, l\/lr. Massey pawned him off to the Plaintiff and never followed

up with l\/lr. Troiano before filing the lawsuit in December 2017. The plaintiff in

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this case would have very likely received more money, the hill initially alleged
damages, if Mr. Massey had simply told Mr. Troiano how much was required to
answer the demand letter and to make things right. l\/lr. Troiano did his part by trying
to contact the Plaintiff as Mr. Massey asked him to do, but after at least three tries,

he was unable to get the Plaintiff to answer the telephone and no voice mail was set

up.

The Plaintiff also would have gotten the full amount of damages alleged in
the two Complaints, $195.21, if Mr. Massey had responded to the counteroffer of
$1500 made by the undersigned counsel after Mr. Massey offered to settle for $2500
with Mr. Troiano after Defendants were served lt became clear when, after several
attempts to get a response to our counteroffer were ignored that the case had to be
litigated Although the undersigned counsel initially made an incorrect argument as
to the jurisdiction issue, the other arguments and defenses presented were legitimate
and were supported by law as was born out, in part, by the Court dismissing Count
Il, which had the higher damages amount On March 1, 2018, the Plaintiff also could
have received the full amount of damages plead $195.21, When the undersigned
counsel dropped of a check for that amount and a letter indicating the willingness to
discuss payment of reasonable attorney’s fees. This was not a trick, this was an

attempt to give the Plaintiff what he wanted and to stop the attorney’s fees from

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continuing to rise for both sides. However, the check was sent back without any
attempt to negotiate reasonable attorney’s fees or to even ask that the Judge or

Magistrate be allowed to decide the fees after argument

On l\/lay 30, 2018, Proposals for Settlement of $2400 by LEA and $100 by
l\/Ir. Troiano were sent to l\/lr. Massey, which gave yet another chance for the case to
be settled with the Plaintiff receiving the full amount of damages plead This was
also rejected and never responded to with any type of offer. Also, as previously
stated mediation was a complete waste of time where Mr. Massey demanded an
outrageous amount of attorney’s fees. This was not a surprise to the undersigned
counsel since Mr. Massey and l mediated another wages case which was also a waste
of time, and the undersigned counsel had been told by an attorney in Gainesville that
mediations with Mr. Massey were a waste of time. ln that other case between Mr.
Massey and the undersigned counsel, Mr. Massey’s client, the plaintiff, lost at trial
and got nothing. Yet, Mr. Massey claims to be an expert in FLSA claims and
deserving of $425 an hour. All of the above, especially the multiple times full
damages were rejected supports a finding of the Court of a disturbing undercurrent
in the case from the beginning that l\/Ir. Massey was doing what will ultimately

generate the greatest fees rather than fighting for a legitimate recovery for his client,

the Plaintiff

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In Walker, 752 Fed.Appx. 910, the 11th Circuit Court reduced the requested
attorney’s fees from $27,627 to $7,640, and the reduction was upheld for many of
the same reasons stated above. The damages initially sought were much less than
what was obtained and much less than what could have been achieved with
settlement offers, especially early on. E. The Court also noted that the overall nature
of the case did not justify the high attorney’s fees, the case was not complex or
protracted and there was no formal discovery. E. The instant case was not complex,
the two minimum wage counts were basically the same and were based upon a
common core of facts, the litigation was not protracted and there was limited
discovery; there were no depositions, and LEA and l\/lr. Troiano did no discovery.
In the mm case, the attorney’s fees requested were reduced by a little more than
seventy-two (72) percent and we are asking for a similar reduction of seventy-five

(75) percent

ln Anderson v. Stiefel Aluminum lnc., 2013 WL 3714089 1 (M.D. Fla. July
15, 2013), the Court reduced the requested attorney’s fees from $63,630 to $7,175,
a reduction of over eighty-eight (88) percent of the loadstar amount The Court found
the Plaintiff achieved minimal success when it settled for eleven percent of the
damages initially calculated and that the amount obtained was less than what was

offered by the Defendants at the beginning of the lawsuit ln the instant case, LEA

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and l\/Ir. Troiano actually offered the full amount of damages at the beginning of the
case and several times thereafter. E. at 1-2. The Court also found that from the start
of the lawsuit, the Plaintiffs counsel applied a legally unsupported valuation of the
Plaintiff s damages which the Court found needlessly increased the amount of
attorney’s fees Plaintiff incurred in the case. Ll_. The Court also mentioned the seven

depositions taken by the Plaintiff as excessive id at 1.

The same is true in the instant case, l\/ir. Massey applied a legally unsupported
valuation of the Plaintiff’s damages in two Complaints, the unsupported valuation
needlessly increased the amount of attorney’s fees incurred by Plaintiff Also, the
Plaintiff s attorney hours are about twice as many as the undersigned counsels’ hours
in part because of the Plaintiff s two Requests to Produce, two sets of lnterrogatories
and a Request for Admissions. Like in Anderson, the Plaintiff could have gotten
more damages before litigation even began and was offered several times during the
litigation, including at the beginning The additional litigation led the Plaintiff to
getting only about forty-three percent (43%) of the damages plead 884.14, instead
of $195.21, which is even more of a reason to significantly reduce the amount of

attorney’s fees Mr. Massey is requesting

ln Andriello 2012 WL 3264920 at 7 - 8, the Court reduced the Loadstar

 

amount of attorney’s fees by seventy percent from 848,290.50 to $14,487.15. The

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Court chose to make an across the board reduction of the lodestar of seventy (70)
percent simply based upon the very limited success of the Plaintiffs. Only forty-three
(43) percent of the plaintiffs prevailed and those plaintiffs only recovered three (3)
percent of the damages claimed id l\/lr. Massey only had one client but lost one of
two Counts plead and that one client will only get about forty-three (43) percent of
the damages twice plead The percentage of damages lost by Plaintiff can also be
viewed as more significant since the maximum amount of damages plead was only
$195.21 , and the Plaintiff gave up the opportunity to get full damages several times.
As a result, the Court can make an across the board reduction oer. Massey’s fees

of at least 75% as long as the Court provides a clear explanation for doing so.

A District Court case which is very similar to the instant case is Ml_ff, 2012
WL 5303665 1-10 in regard to the fact that the Court found the case should have
been a straight forward FLSA overtime case, and the Defense counsel accused the
Plaintiff’ s counsel of running up attorney’s fees, and the Plaintiff's counsel accused
the Defense counsel of going to lengths to avoid payment of attorney’s fees.
However, in V_V_Q_l_f_f, the Plaintiff plead an unstated amount of damages and later
provided an amount of $1800 and the Plaintiff settled for more, $3 600. _Id. at 1-3.
The Court in o\_A]_gLffreduced the amount of attorney’s fees sought, over $150,000, by

sixty (60) percent I_d. at 8.

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ln doing so, the Court noted that,

“in light of the gross disparity between what plaintiff claimed and
what her attorneys now seek for obtaining recovery, there is a
significant potential for the fee award to become a windfall for
plaintiffs counsel. FLSA suites are not meant to become a cottage
industry divorced from the benefits they provide, and fees should not
shade over from fair play into a punitive measure against defendants
who challenge a plaintiffs overtime claim in good faith.” E. at 5.

Like M, there is a gross disparity between what the Plaintiff claimed and
what l\/lr. Massey now seeks in attorney’s fees; damages sought for the winning
Count l were $184.14, damages won for Count l were $84.14, and Mr. Massey is
seeking $76,670. An award of fees near the number requested by l\/lr. Massey would
be a windfall for him, especially in light of the additional factors not present in
_Wo_lff. For example, in M, the plaintiff did not lose one of two counts, the Wolff
plaintiff settled Also, the plaintiff in _V\_/thf did not end up with 67% less damages
than were plead as Mr. Massey’s client did ln fact, the plaintiff in M ended up
with twice as much money than was initially sought, and the Court still reduced the
fees requested by 60%. Id. at 1-10. As a result, the Court has ample reasons to make

an across the board cut of at least 75% to l\/lr. Massey’s attorney fee request

The Court can also find that the fees generated were moot as of March 1,
2018, when the undersigned counsel dropped of a check for full damages plead

$195.21, and a letter indicating the willingness to discuss payment of reasonable

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attorney’s fees. If the fees stop there Mr. Massey’s hours 162.3 hours would be
reduced by 108.3 hours for a total of 54 hours. 54 hours times $250 per hour =

$13,500 in attorney’s fees.

Please also see the Affidavit of Attorney Gary D. Wilson, Esquire attached

as Exhibit A.
III ~ COSTS

LEA and l\/lr. Troiano request that the Court find that the Plaintiffs expert
fees are not recoverable under FLSA. See Padurian v. Aventura Limousince &

Transp. Serv., Inc., 441 Fed. Appx. 684, 686 (11th Cir. 2011).
IV - CONCLUSION

FLSA suits are not meant to be a windfall for plaintiffs counsel. W_o_l_ff, 2012
WL 5303665 at 4-5. Also, if this case was not primarily about attorney’s fees, Why
would the offer of full payment of damages been rejected at least four times? The
Court can make an additional across the board cut from the lodestar amount of
$29,500 or the amount of $76,670 Mr. Massey is requesting or the amount of
$68,977.50 for work done until August 24, 2018, which is prior to the Court ordering

attorney’s fees for the Plaintiff LEA and l\/lr. Troiano request either at least a 75%

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reduction from the $68,977.50 or at least a 40% reduction from the $29,500. The
Court can also find that the fees generated were moot as of March 1, 2018, when the
undersigned counsel dropped of a check for full damages plead If the fees stop on

March 1, 2018, Mr. Massey would be entitled to 313,5 00 in attorney’s fees.
CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished by Cl\/l/ECF electronic delivery or U.S. Mail Delivery to (and all others
receiving electronic service) l\/Iichael Massey, Massey & Duffy, PPL, 855 East

University Ave., Gainesville, FL 32601, on March 29, 2019.

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